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                 EXHIBIT 15
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       DOCUMENTS THAT ARE NOT PREDECISIONAL FOR THE PURPOSES OF THE DELIBERATIVE PROCESS PRIVILEGE

DOCUMENT NUMBER          DATE             TYPE                                                 DESCRIPTION
HHC006-02990302   Not provided    Analysis Sheet        Analysis of Connecticut State Plan Amendment No. 03-002
HHC009-01760177   Not provided    Memo                  Michigan SPA 01-15 and Supplemental Rebate
HHC901-08230823   Not provided    Cover                 Implementation – DOJ AWP PM AB-00-86
HHC901-08290829   Not provided    Notes                 Implementation – DOJ AWP PM AB-00-86
HHC901-10181028   02/03/1999      Fax with              First Data Bank Settlement Proposal, Government Draft Response and Comments re FDB
                                  Attachments           Price Reports and Threatened Litigation
HHC902-00350052   04/29/1996      Draft                 Draft NPRM on Drug and Biological Pricing – Policy
HHC902-00530055   04/26/1996      Draft                 BPD852PC.C Drug and Biological Pricing Policy
HHC902-00980099   03/22/1996      Note                  Re: Confidentiality of Drug Rebate Pricing Data (witih Handwritten Notes)
HHC902-03110312   06/04/1997      Email with            Ways and Means Language
                                  Attachment
HHC902-03270328   10/01/1996      Memo                  Calculation of Payment Amount for Multi-dosage Drug - - Policy Clarification
HHC902-03550360   10/20/1998      Draft                 Dr. Implementation of the Balanced Budget Act
HHC902-03610368   09/24/1998      Draft                 Implementation of the Balanced Budget Act
HHC902-03760381   Not provided    Draft Regulation      Re Implementation of the Balanced Budget Act of 1997
HHC902-05430544   05/08/1992      Memo                  Michigan Proposal to Distribute Pharmaceuticals Through the Mail
HHC902-06520655   07/22/1991      Letter                Exemption Of Drugs From The Provisions Of Section 1927(e) Of The Social Security Act
HHC902-06610662   12/XX/1991      Bulletin              Medicaid Bulletin – December 1991
HHC902-06660667   Not provided    State Plan Under      Methods and Standards For Establishing Payment Rates – Other Types Of Care
                                  title XIX Of The
                                  Social Security Act
HHC902-06680668   06/24/1992      Note                  Request for Policy Clarification on Tennessee’s Interpretation of Usual and Customary
                                                        Charges as Applied to Outpatient Drug Reimbursement
HHC902-06690670   03/05/1992      Note                  Drug Rebate Program: Question from Nebraska
HHC902-06710700   06/XX/1992      Medicaid Bulletin     Pharmacy Bulletin – No. 92-2
HHC902-07040706   07/09/1993      Memo                  Notification of Medicaid Drug Federal Upper Limit (FUL) Changes – ACTION
HHC902-07390739   11/10/1992      Form                  Medicaid Bureau Control 921110-0025 re Request for Policy Clarification regarding Drug
                                                        Dispensing Fees
HHC902-07460751   11/04/1991      Memorandum            Pennsylvania Drug Reimbursement
HHC902-08430843   03/15/1994      Note                  Response to Ms. Chambers Concerning HMO Reimbursement Rates
HHC902-08450846   08/13/1999      Note                  Clarification of HCFA Policy Regarding Dispensing Physicians
HHC902-08470848   02/18/1999      Form with             Center for Medicaid & State Opers Control 990218-0034 re Clarification of HCFA Policy re
                                  Attachment            Dispensing Physicians - GLC
HHC902-08490849   01/29/1999      Memo                  Clarification of HCFA Policy Regarding Dispensing Physicians
HHC902-08530854   08/03/1996      Note                  Federal Upper Limits for Drug Prices
HHC902-08610862   09/10/1992      Memo                  Health Insurance Premium Payment (HIPP) Program and Payment of Pharmacy Claims

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DOCUMENT NUMBER          DATE          TYPE                                                       DESCRIPTION
HHC902-08750877   02/01/1993      Memorandum              Federal Upper Limit (FUL) – Transmittal 21, State Medicaid Manual
HHC902-10681070   Not provided    Memo                    Administrator’s Letter to All State Medicaid Directors Concerning Payment for Schedule II
                                                          Drugs
HHC902-11241125   Not provided    Draft Letter            State Plan Amendment 88-3 Upper Payment Limits for Prescribed Drugs
HHC902-11351140   02/28/1991      Draft with              Suggested Draft Language for use in response to James L. Oberstar on behalf of His
                                  Attachments             Constituent June P. Van Horn regarding Reimbursement for Purchase of Brand Name Drugs
HHC903-00230026   09/21/1990      Letter                  Draft Language for use in responding to Congressman Jim Bunning who wrote on behalf of
                                                          Mr. Richard E. Murray
HHC903-00350045   07/XX/1990      Draft letter witih      Suggested Language for response to Senator Thurmond on behalf of his Constituent, John
                                  attachment              W. McGee, R.Ph.
HHC903-00560058   07/11/1990      Memo with               Notifications to States regarding Drug Items subject to specific Federal Upper Limits (42
                                  Attachment              CFR 447.332) (your Memorandum dated June 21, 1990) – INFORMATION
HHC903-00620065   10/07/1993      Letter                  Draft Language to use in response to Representative Christopher Shays on Kwell
HHC903-00740081   02/12/1987      Note and                Medicaid Drug Payment Policy re: FUL
                                  Attachments
HHC903-00900090   Not provided    Report                  Additional Statement of Policy
HHC903-01390143   02/24/1987      Memo                    Final Regulation On Medicaid Prescription Drug Payment Policy
HHC903-04710471   02/XX/1993      Minutes                 Leuprolide: TAC Minutes–February 1993
HHC903-06410649   04/05/1993      Note with attached      Review of Home Drug Infusion Therapy
                                  report
HHC903-06530655   03/01/1996      Draft Letter            Revised Language for response to Congressman Sam Gejdenson on behalf of Theodore A.
                                                          Spanos
HHC903-06610672   Not provided    Draft                   Clarification of Medicare Converage Policy for External Infusion Pumps for Insulin with
                                                          Attached 3/26-27 Minutes
HHC903-06730676   08/24/1992      Draft                   Carrier’s Proposed Policy on Medicare Coverage of Infusion Therapy (Memorandum from
                                                          Gene Hyde, Dated May 20, 1991) – INFORMATION
HHC903-07110720   Not provided    Note and attached       Briefing materials for Hearing on Home Infusion Therapy, House Energy and Commerce
                                  briefing materials      Subcommittee on Oversight and Investigation, September 9, 1993
HHC903-08070810   03/19/1997      Draft                   Draft language for use in reply to Congressman Ballenger’s Inquiry on behalf of David
                                                          Hardaway, M.D.
HHC903-08110811   04/07/1997      Draft                   Draft language for response to Senator Conrad’s inquiry on behlf of the concerns of Dr.
                                                          Patrick Stoy
HHC903-08350840   05/02/1996      Draft                   Response to Congressional Inquiry by Karen Thurman
HHC903-08410845   05/03/1996      Draft                   Draft language for reply to Congressman David Minge
HHC903-08460850   05/15/1996      Draft response to       Draft language for reply to Ronald Grousky
                                  citizen’s inquiry re:
                                  Medicare Payment
                                  Policy for Drugs

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DOCUMENT NUMBER          DATE             TYPE                                             DESCRIPTION
HHC903-08690877   06/17/1991      Memo and              Agency Response to Inquiry Re: ESRD Drug Reimbursement.
                                  attachments
HHC903-08780883   04/11/1988      Draft                 Draft language for use in responding to Congressman Herbert Bateman
HHC903-08840893   11/22/1987      Draft                 Draft language for use in response to Senator Howell Heflin
HHC904-00010046   04/13/1992      Memo                  Review of Texas’ Disallowance of Medicaid Payments for less than effective drugs.
HHC904-01450154   Not provided    Letters and           Draft responses to letter re: Oregon’s state plan amendment to redefine the state’s EAC for
                                  attachments           drugs from AWP minus 14 percent to AWP minus 15 percent.
HHC904-01790181   Not provided    Draft letter          Draft response to letter re: 2/11/03 update to Federal Upper Limit list for generic drugs
HHC906-01660171   06/13/1991      Memo and              Request for Guidance on Limiting the Charge for Drugs/Biologicals Provided by Physicians
                                  attachment            (Your memo dated 11/8/90)
HHC906-02230227   Not provided    Memo                  Michigan State Plan Amendment 01-015 (draft)
HHC906-02400240   Not provided    Notes                 Handwritten notes re: Supreme Court request
HHC906-02490950   12/18/1995      Memo with             Wisconsin State Plan Amendment (SP 95-026, 95-027, 95-028) Request for Additional
                                  handwritten notes     Information
HHC906-02510254   Not provided    Letter (draft)        Re: State plan amendment TN #95-026
HHC906-04950503   10/08/1996      Letter                Response to 5/1/96 letter to P. Chiarelli
HHC906-05130513   Not provided    Note                  Re: written communications to Member of Congress
HHC906-05140536   12/20/1999      Fax and attachment    Correction issued for code J2405
HHC906-05580559   Not provided    Letter (draft)        RE: Colorado’s State Plan Amendment (SPA) 02-011
HHC906-05600561   Not provided    Medicare Payment      Medicare Payment Policy For Implantable Pump And the Drugs Used To Refill The Pump
                                  Policy and Email
HHC906-05850586   Not provided    Draft                 Colorado’s State Plan Amendments (SPA) 02-011
HHC906-05870590   Not provided    Draft Report          Montana SPA 03-003
HHC906-05910592   Not provided    Draft letter          re: Montana State Plan Amendment (SPA) 03-002
HHC906-05930594   Not provided    Draft letter          Re: Colorado’s State Plan Amendment (SPA) 02-011
HHC907-04880494   Not provided    Draft Report          CIGNA Contractor Performance Review Report
HHC907-07250729   10/29/1998      Notes and             Cigna – 1988 CPE Review
                                  attachments
HHC908-02190224   Not provided    State Plan            State Plan Amendment Material
                                  Amendment
                                  Material
HHC908-02280231   Not provided    State Plan Mateiral   Transmittal And Notice Of Approval Of State Plan Material
HHC908-02550255   Not provided    Letters, Emails and   SPA 02-17
                                  Faxes
HHC908-03470350   Not provided    Notice                Transmittal And Notice Of Approval Of State Plan Material
HHC908-03680368   Not provided                          SPA 02-16
HHC908-04120416   Not provided    Transmittal And       Transmittal And Notice Of Approval State Plan Material
                                  Notice Of Approval

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DOCUMENT NUMBER         DATE              TYPE                                                DESCRIPTION
                                  State Plan Material
HHC908-04270428   Not provided    Transmittal And       Transmittal And Notice Of Approval State Plan Material
                                  Notice Of Approval
                                  State Plan Material
HHC908-04540458   Not provided    Transmittal And       Transmittal And Notice Of Approval State Plan Material
                                  Notice Of Approval
                                  State Plan Material
HHC908-04590460   Not provided    Emails, OS            Oregon SPA 02-15 Materials
                                  Notification
HHC908-04610461   Not provided    Letter                SPA 02-015
HHC908-04620462   Not provided    Pharmacy SPA          Pharmacy SPA Checklist
                                  Checklist
HHC908-05070507   Not provided    Oregon SPAs           Oregon SPAs 02-11, 02-15, 02-16
HHC908-05150515   Not provided    Handwritten Notes     Oregon #02-015
HHC908-05370537   Not provided    Memo                  Sixty Day Alert – Oregon SPA #02-004
HHC908-05390546   Not provided    Transmittal           Decrease The Oregon Maximum Allowable Cost From 13% to 14%
HHC908-10261027   Not provided    Memo                  Louisiana Supplemental Rebate Agreement
HHC908-10471050   Not provided    Letter                WA State Plan Amendment 03-21
HHC908-13291329   Not provided    Highly Specialixed    Highly Specialixed Drug Program Claim Form
                                  Drug Program Claim
                                  Form
HHC909-00230023   04/05/1989      Memo                  OR State Plan Amendment/Waiver Request No. 89-6 Pharmacy Reimbursement
HHC909-00260026   Not provided    Memo                  Recommendation for Action on Oregon SPA / Waiver Request No. 89-5
HHC909-00280028   03/25/1991      Memo                  Justification for Action Recommended re Washington SPA / Waiver Request No. 91-06 re
                                                        Drug Rebate Program
HHC909-00290029   03/25/1991      Memo                  Justification for Action Recommended re Washington SPA / Waiver Request No. 91-06 re
                                                        Drug Rebate Program
HHC909-00300030   03/25/1991      Memo                  Justification for Recommended Action on Virginia SPA / Waiver Request No. 91-06
AWP002-00570059   05/17/2001      Letter                Response to April 17, 2001 request from the Health Care Financing Administrator to provide
                                                        drug pricing information
AWP002-08040805   05/17/2001      Letter                Response to April 17, 2001 request from the Health Care Financing Administrator to provide
                                                        drug pricing information
AWP901-00250027   09/12/2000      Letter                Letter to Member of Congress re: HCFA carriers
AWP902-03130319   05/01/2001      Draft                 Request for Information in Narrative Report MS Word Format
AWP902-03200325   05/01/2001      Draft                 Request for Information in Narrative Report MS Word Format




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